                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                           Case No. 21-cr-0075-bhl


AKEEM W FIRST,

                  Defendant.
______________________________________________________________________________

   ORDER ON DEFENDANT’S EMERGENCY FUNERAL FURLOUGH REQUEST
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       Akeem W. First, who is detained pending trial, filed a motion asking the Court to grant
him a furlough so that he could attend the funeral of a “close family friend.” (ECF No. 41.)
First seeks to be released for 12 hours to allow him to attend the December 4, 2021 funeral and
burial in Racine, Wisconsin. Because his family is unable to afford the funeral home cost of
arranging a private viewing for him under U.S. Marshal supervision, First proposes that his
mother would pick him up at the Dodge County Detention Facility, take him to the funeral and
burial services, and return him to the detention facility. He maintains that he would remain with
his family at all times and proposes further security through GPS monitoring. (Id. at 2.) The
government opposes the request. (Id. at 3.)
       On March 30, 2021, First made his initial appearance on a complaint charging him
with one count of Possession of Firearm by a Felon in violation of 18 U.S.C. § 922(g)(1). After
conducting a detention hearing pursuant to 18 U.S.C. §3142, Magistrate Judge Nancy Joseph
found that there was no combination of conditions of release that would reasonably assure the
safety of the community and ordered First detained. (ECF Nos. 3, 4.) Subsequent to the
detention hearing, on April 13, 2021, the grand jury charged First in a four count indictment with
two counts of distribution of marijuana, in violation of 21 U.S.C. §§841(a)(1) and (b)(1)(D); one
count of distribution of a controlled substance, Schedule II, in violation of 21 U.S.C. §§841(a)(1)
and (b)(1)(C); and one count of being a felon in possession of a firearm, in violation of 18 U.S.C.




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§922(g)(1). (ECF No. 7.) At First’s Arraignment and Plea hearing held on April 13, 2021,
Judge Joseph continued the Order of Detention. (ECF No. 8.)
       First filed a motion to reopen the detention hearing on June 11, 2021. (ECF No. 15.) The
government opposed the motion, (ECF No. 16), and, on July 1, 2021, Judge Joseph denied
First’s request. The Magistrate Judge concluded that First’s proposed release plan did not
sufficiently mitigate the risk of danger that he posed to the community. (ECF No. 20.) On
September 27, 2021, First sought the review and revocation of Judge Joseph’s July 1 detention
order. (ECF No. 29.) The Court heard argument on the motion on November 4, 2021, and after
considering the factors set forth in 18 U.S.C. §3142(g) – including the weight of the evidence
against the defendant, the defendant’s prior criminal activity, and the information presented at
the hearing – the Court found that no condition or combination of conditions of release would
reasonably assure the safety of any other person and the community, and the defendant must be
detained pending trial. (ECF No. 35.)
       The Court extends its sympathy to First on the passing of his friend and understands his
desire to attend the funeral. However, 18 U.S.C. §3142(i) provides that a court may only grant a
temporary release of a detainee for “compelling reasons.” For the same reasons stated at the
Detention Review hearing, the Court will not grant First’s request for an un-escorted furlough.
Accordingly,

       IT IS ORDERED that Defendant’s Emergency Funeral Furlough Request (ECF No. 41)
is DENIED.

       Dated at Milwaukee, Wisconsin on December 3, 2021.

                                                          s/ Brett H. Ludwig
                                                          BRETT H. LUDWIG
                                                          United States District Judge




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